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                          Exhibit 21

                  Excerpt of
          PGIC 2005 Annual Statement
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                                                                          PGIC 30(b)(6)

                                                                           EX 0024
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